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 8
                            UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
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11
      FRED E. THOMAS, an individual,          ) Case No.: SACV 09-166 JVS (RNBx)
                                              )
12                                            )
                    Plaintiff,                )
13
            vs.                               ) ORDER OF DISMISSAL WITH
                                              )
14                                            ) PREJUDICE
      NCO FINANCIAL SYSTEMS, INC., a )
15                                            )
      corporation; NCO PORTFOLIO              )
16    MANAGEMENT, INC., a Delaware            )
17    corporation, and Does 1-10, inclusive, ))
                                              )
18
                    Defendants.               )
                                              )
19                                            )
20
            Based on the stipulation of the parties, Plaintiff, Fred E. Thomas, and
21

22    Defendants, NCO Financial Systems, Inc. and NCO Portfolio Management, Inc.,
23
      filed herein pursuant to Fed. R. Civ. P. 41(a)(1),
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      ///

26    ///
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      ///
28




                                  [Proposed] Order of Dismissal with Prejudice
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 1
            IT IS HEREBY ORDERED that the above-entitled action is dismissed with
 2
      prejudice.
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 5    Dated: October 06, 2009
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                                       _________________________________
                                       Hon. James V. Selna
 7
                                       United States District Judge
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                                [Proposed] Order of Dismissal with Prejudice
